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DEPARTMENT OF HEALTH & HUMAN SERVICES
Centers for Medicare & Medicaid Services
Dallas Regional Office
1301 Young Street, Room 827
Dallas, Texas 75202

DIVISION OF SURVEY & CERTIFICATION, REGION VI

August 14, 2018

                                                                             CCN:
                                                                 Cycle Start Date: CSD-July 23, 2018
                                                                 Facility State ID:


THIS SERVES AS OFFICIAL NOTICE SENT VIA FACSIMILE PURSUANT TO 42 CFR PART
§488. NO HARD COPY TO FOLLOW.

Dear Administrator:

On July 23, 2018, your State Survey Agency (SA) concluded an inspection during a survey at your facility.
The SA notified you of its findings in a letter dated August 3, 2018. After a careful review of the facts, the
Centers for Medicare & Medicaid Services (CMS) has determined that the above-named facility no longer
meets the requirements for participation in the Medicare/Medicaid programs; although the conditions that
represented immediate jeopardy had been removed, the facility continued to be not in substantial
compliance. We concur with the findings, which indicate that the facility was not in substantial compliance
with the following Medicare/Medicaid Requirements at that survey:

F0584 -- S/S: F -- 483.10(i)(1)-(7) -- Safe/Clean/Comfortable/Homelike Environment
F0600 -- S/S: K -- 483.12(a)(1) -- Free From Abuse and Neglect
F0607 -- S/S: K -- 483.12(b)(1)-(3) -- Develop/Implement Abuse/Neglect Policies
F0689 -- S/S: K -- 483.25(d)(1)(2) -- Free of Accident Hazards/Supervision/Devices
F0835 -- S/S: K -- 483.70 -- Administration
F0867 -- S/S: K -- 483.75(g)(2)(ii) -- QAPI/QAA Improvement Activities

To participate as providers of services in the Medicare and Medicaid program, skilled nursing facilities
must meet all provisions of Section 1819 of the Social Security Act, be in compliance with each of the
Medicare/Medicaid Requirements, and be free of hazard to patient health and safety.

ENFORCEMENT REMEDIES
Based on the deficiencies on the Statement of Deficiencies and Plan of Correction (Form CMS 2567), the
following remedies are imposed:

x   Termination of Your Medicare and Medicaid Provider Agreement:
    Unless your facility achieves substantial compliance before January 23, 2019, CMS will terminate your
    facility's Medicare provider agreement in accordance with the Social Security Act 1866(b)(2) and 42
    CFR §488.412(d). CMS will publish notice of this termination on the CMS website,
    https://www.cms.gov/Medicare/Provider-Enrollment-and-Certification/SurveyCertificationGenInfo/
    Termination-Notices.html. CMS will also notify the appropriate State officials concerning the
    impending termination of your Medicare provider agreement. When your participation in Medicare is
    terminated, your State Medicaid Agency is required to terminate your participation in Medicaid in
    accordance with the Social Security Act 1902(a)(39) and 42 CFR §488.456(d)(2) and §455.416.
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    Medicare regulation 42 CFR §489.57 requires that when a provider agreement is terminated by CMS, a
    new agreement will not be accepted until it has been determined that the reason for termination of the
    agreement has been removed and there is reasonable assurance that it will not recur. The terminated
    facility will have to operate for a period of time determined by CMS, during which the reasonable
    assurance requirement has been satisfied. During this period the facility must fulfill, or make
    satisfactory arrangements to fulfill, all of the statutory and regulatory responsibilities of the previous
    agreement.

x   Per-Day Civil Money Penalty:
    CMS is imposing, in accordance with the statutory provisions at §1819(h) and §1919(h) and Federal
    regulations at 42 CFR §488.430, §488.434, §488.438, a Federal Civil Money Penalty of $13,054.00 per
    day for the one (1) day of May 30, 2018, for a total of $13,054.00 and a Federal Civil Money Penalty of
    $1,615.00 per day beginning May 31, 2018, and continuing until further notice from CMS.

       Financial Hardship Consideration
       You may request financial hardship consideration for a reduction in the CMP or an extended
       payment plan or both. If you would like to request a financial hardship consideration, please see the
       attached document (Financial Hardship Review) and return all required documents via e-mail only
       to Josie Vargas at josie.vargas@cms.hhs.gov by August 29, 2018. Contact Josie Vargas at (214)
       767-4428 if you have any questions.

       Waiver of Appeal Rights for a Civil Money Penalty
       If you waive your right to a hearing, CMS will reduce the total amount of the CMP by 35%.
       October 13, 2018, is the last day to waive your right to a hearing. The waiver must be submitted
       in writing on or before this date in order to receive the reduction. You may fax the waiver to Josie
       Vargas at (443) 380-6485.

       PLEASE DO NOT SEND PAYMENT AT THIS TIME. CMS will notify you of the total amount
       due and where payment is to be sent.

       Collection of a Civil Money Penalty and Deposit in Escrow
       In accordance with 42 CFR §488.331 and §488.431, CMS will collect this imposed civil money
       penalty and place the monies in an escrow account before a final administrative hearing. The civil
       money penalty will be collected on the earliest date of the following:

       x   Completion of an Independent Informal Dispute Resolution (IIDR); or
       x   Ninety (90) days from the date of this Notice Letter.

       Opportunity for Independent Informal Dispute Resolution (IIDR)
       You have ten (10) calendar days from the date of this notice letter to request an Independent
       Informal Dispute Resolution (IIDR). To request an IIDR and a copy of your SA's IIDR Process
       please contact:

                           HHSC IDR Unit
                           1106 Clayton Ln, Suite 300 West, Mail Code H970
                           Austin, Texas 78723
                           Phone: 512-706-7268
                           e-mail: IDR@hhsc.state.tx.us

       Please be advised you are not required to request an IIDR. You may choose to continue an
       Informal Dispute Resolution (IDR) request already made to your State Survey Agency. You may
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       not use both dispute resolution processes at §488.331 and §488.431 for the same deficiency citation
       arising from the same survey unless the IDR was at §488.331 was completed prior to CMS
       imposing the civil money penalty. The IIDR process will generate a written record. The SA is not
       required to adopt the IIDR recommendations. If your SA disagrees with the IIDR recommendation,
       your IIDR will be referred to the CMS Regional Office. The CMS Regional Office may adversely
       modify the survey findings upon its review of the IIDR. The IIDR process is not a formal
       evidentiary hearing and does not grant further appeal rights.

       For additional guidance, please refer to the Survey and Certification Memorandum S&C 12-08-NH.

x   Denial of Payment for New Admissions (DPNA):
    Payment will be denied for all NEW Medicare and Medicaid admissions, beginning August 18, 2018, in
    accordance with the statutory provisions at §1819(h)(2)(D) and §1919(h)(2)(C) and Federal regulations
    at 42 CFR §488.417. Under CMS’s authority, the SA sent you notice of this remedy in their August 3,
    2018, letter. CMS will notify your Medicare payer the date the denial of payment begins. DPNA will
    continue until the day before your facility achieves substantial compliance or your provider agreement
    is terminated. [You may not bill new Medicare/Medicaid residents or their responsible parties for
    services normally covered by Medicare, Medicaid or Medicare Managed Care Organizations during
    DPNA.]

PHASE TWO ENFORCEMENT MORATORIUM NOTICE
Based on concerns from stakeholders that some facilities may need additional time to come into compliance
with the new Phase 2 requirements, CMS will not impose civil money penalties, discretionary denial of
payment, and/or discretionary termination for cited noncompliance with certain Phase 2 provisions for 18
months (Nov. 28, 2017 – May 28, 2019). Further, CMS will hold constant Nursing Home Compare’s
health inspection ratings for one year.

Therefore, if this notice includes the imposition of civil money penalties, discretionary denial of
payment for new or all admissions or discretionary termination, those remedies are being imposed
only as a result of violations of Phase 1 or non-exempt Phase 2 deficiencies. For more information, see
S&C Memo 18-04-NH, available at https://www.cms.gov/Medicare/Provider-Enrollment-and-
Certification/SurveyCertificationGenInfo/Downloads/Survey-and-Cert-Letter-18-04.pdf.

CMS is conducting a review of these and all other requirements of participation to look for ways to reduce
burden on providers while ensuring patient safety. We will assess the appropriateness and necessity of these
requirements in protecting the health, safety, welfare and rights of residents, and determine which may be
streamlined or eliminated (See 82 Fed. Reg. 21014, 21089 (May 4, 2017) at Section VI. C.). As the CMS
standards are under review, any party using CMS survey reports should be cognizant of this fact.

FILING AN APPEAL
If you disagree with the determination of noncompliance (and/or substandard quality of care resulting in the
loss of your Nurse Aide Training and Competency Evaluation Program (NATCEP), if applicable), you or
your legal representative may request a hearing before an administrative law judge of the U.S. Department
of Health and Human Services, Departmental Appeals Board. Procedures governing this process are set out
in 42 CFR §498.40, et. seq. You may appeal the finding of noncompliance that led to an enforcement
action, but not the enforcement action or remedy itself. A request for a hearing should identify the specific
issues, and the findings of fact and conclusions of law with which you disagree. It should also specify the
basis for contending that the findings and conclusions are incorrect. You may have counsel represent you at
a hearing (at your own expense). Requests for a hearing submitted by U.S. mail or commercial carrier are
no longer accepted unless you do not have access to a computer or internet service. You must file your
hearing request electronically by using the Departmental Appeals Board’s Electronic Filing System
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(DAB E-File) at https://dab.efile.hhs.gov no later than October 13, 2018 (60 days from the date of
receipt of this letter via fax).

When using DAB E-File for the first time, you will need to create an account by a) clicking Register on the
DAB E-File home page; b) entering the requested information on the Register New Account form; and c)
clicking Register Account at the bottom of the form. Each representative authorized to represent you must
register separately to use the DAB E-File on your behalf.

The e-mail address and password given during registration must be entered on the login screen at:
https:/dab.efile.hhs.gov/user_sessions/new to access DAB E-File. A registered user’s access to DAB E-File
is restricted to the appeals for which he/she is a party or an authorized representative. You can file a new
appeal by a) clicking the File New Appeal link on the Manage Existing Appeals screen; then b) clicking
Civil Remedies Division on the File New Appeal screen; and c) entering and uploading the requested
information and documents on the File New Appeal-Civil Remedies Division form.

The Civil Remedies Division (CRD) requires all hearing requests to be signed and accompanied by the
notice letter from CMS that addresses the action taken and your appeal rights. All submitted documents
must be in Portable Document Format (PDF). Documents uploaded to DAB E-File on any day on or before
11:59p.m. ET will be considered to have been received on that day. You will be expected to accept
electronic service of any appeal-related documents filed by CMS or that the CRD issues on behalf of the
Administrative Law Judge (ALJ) via DAB E-File.                    Further instructions are located at:
https://dab.efile.hhs.gov/appeals/to_crd_instructions. Please contact the Civil Remedies Division at (202)
565-9462 if you have questions regarding the DAB E-Filing System. If you experience technical issues
with     the     DAB       E-Filing    System,     please   contact     E-File    System    Support     at
OSDABImmediateOffice@hhs.gov or call (202) 565-0146 before 4:00p.m. ET.

If you do not have access to a computer or internet service, you may call the Civil Remedies Division at
(202) 565-9462 to request a waiver from e-filing and provide an explanation as to why you cannot file
electronically or you may mail a written request for a waiver along with your written request for a hearing.
A written request for a hearing must be filed no later than October 13, 2018 (60 days from the date of
receipt of this letter via fax), by mailing to the following address:

                                 Department of Health & Human Services
                                 Departmental Appeals Board, MS 6132
                                    Director, Civil Remedies Division
                                    330 Independence Avenue, S.W.
                                     Cohen Building – Room G-644
                                        Washington, D.C. 20201

In addition, please email or fax a copy of your request to Josie Vargas at josie.vargas@cms.hhs.gov or at
(443) 380-6485.

If you choose, you may waive your right to a hearing. Your waiver of the right to a hearing should be sent
to Josie Vargas. In accordance with §498.20, the failure to request a hearing will render the survey findings
and imposed remedies final and binding.
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If you have any questions, please contact Josie Vargas of my staff at josie.vargas@cms.hhs.gov or at (214)
767-4428.

                                             Sincerely,




                                             Karen Hillman
                                             Manager, Enforcement Branch

Enclosure
cc:    State LTC Sanctions
       State Medicaid Agency
       MAC
       Department of Justice
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